Case 5:24-cv-03972-EKL     Document 159-1          Filed 05/08/25   Page 1 of 13




              EXHIBIT 1
              REDACTED




                Highly Confidential – Outside Counsel’s Eyes Only
     Case 5:24-cv-03972-EKL           Document 159-1         Filed 05/08/25      Page 2 of 13

                                                                                 CONFIDENTIAL
                                                                                 Execution Version

                      CONSULTING SERVICES AGREEMENT
              [FORM FOR MAXIMILIAN DIEHN AND ARASH ALIZADEH]

This is a Consulting Services Agreement (“Agreement”) effective this ___ day of ____, 2015
(“Effective Date”) between Roche Molecular Systems, Inc. (“RMS”), a Delaware corporation, and
[____________] (“Provider”), an individual. All capitalized terms are defined herein. The parties
hereby agree as follows:

1.       Services. Provider agrees to perform the services (“Services”) as specified in Exhibit A
attached and incorporated herein, which is a Statement of Work (“SOW”). Additional work may be
added to this Agreement in the form of SOWs referencing this Agreement and signed by both
parties.

2.     Services for RMS Affiliates.

2.1     Affiliates of RMS are entitled to contract for Services under this Agreement, and, in any
such case, the Affiliate and Provider will be bound by the terms and conditions of this Agreement.
In the event that Foundation (as defined below) contracts for Services under this Agreement and
Provider is required to perform any Services hereunder for Foundation to develop Foundation
products that would reasonably be expected to compete with CAPP-Seq Products (as defined in the
Merger Agreement) (any such products, “Competitive Foundation Products”), then, in such case,
the Competitive Foundation Products shall be treated as Capp-Seq Products for purposes of
determining whether the Milestone Events (as defined in the Merger Agreement) set forth in
Sections 1.5(e)(i)(3), 1.5(e)(i)(4) and 1.5(e)(i)(5) of the Merger Agreement have been achieved.

2.2     The term “Affiliate” means any corporation or other business entity controlled by,
controlling or under common control with (whether directly or indirectly), RMS, and for this
purpose “control” means direct or indirect beneficial ownership of more than 50% of the voting
interest in such corporation or other business entity or having otherwise the power to govern the
financial and the operating policies or to appoint the management of an organization. “Affiliate”
shall include, without limitation, CAPP Medical, Inc. and shall not include (a) Chugai
Pharmaceutical Co., Ltd, 1-1 Nihonbashi-Muromachi 2-Chome, Chuo-ku, Tokyo 103-8324, Japan
(“Chugai”) or (b) assuming consummation of the equity purchase transactions currently
contemplated between an Affiliate of RMS and Foundation Medicine, Inc. (“Foundation”),
Foundation, in each case, unless and until RMS provides written notice to Provider specifying
Chugai or Foundation as an Affiliate of RMS.

3.     Independent Contractor.

3.1     Provider is an independent contractor with respect to RMS and is not an employee, agent, or
joint venturer of RMS. Neither Provider, nor any person designated by Provider to provide Services
under this Agreement, is eligible for coverage or participation in any of RMS’ benefit plans,
programs, workers’ compensation insurance, or any other benefits or compensation from RMS
except as set forth in this Agreement. RMS will not take any deductions from any compensation
paid to Provider for taxes or related payroll deductions, and Provider shall be solely responsible for


                                                  1
     Case 5:24-cv-03972-EKL            Document 159-1         Filed 05/08/25       Page 3 of 13




any taxes resulting from the compensation under this Agreement and agrees to file all such forms
and pay all such taxes as may be required.

3.2    Neither party shall have any right, power, or authority to create any obligation, express or
implied, on behalf of the other, except to the extent provided in this Agreement.

4.     Provider’s Performance of Services.

4.1     Provider shall perform all Services himself and shall not, without RMS’ prior written
consent, employ or utilize any employee, agent, subcontractor or other person in the performance of
the Services.

4.2      In performing the Services hereunder, Provider shall not (and shall not induce RMS to)
misappropriate, improperly use or disclose any confidential, secret, proprietary or otherwise
non-public information or trade secrets of any other entity or person. Provider further agrees not to
bring onto RMS’ premises or transfer onto RMS’ technology systems any of the following that are
subject to obligations of confidentiality or non-use to a third party or where such actions would
constitute breach of such obligations or otherwise misappropriate third party intellectual property
rights: any third party proprietary materials, confidential or proprietary information or trade secrets.

5.      Conflicting Obligations.

5.1     RMS acknowledges that Provider is an employee of Stanford University (“Stanford”) and
is subject to certain agreements, rules, policies, regulations, orders and guidelines of Stanford,
including, without limitation, policies concerning consulting, conflicts of interest and ownership
of intellectual property (collectively, the “Stanford Policies”). Provider shall use commercially
reasonable efforts to provide RMS with any updates to the Stanford Policies of which Stanford
notifies Provider after the Effective Date, whether in writing or by posting such updates online,
promptly after they are provided to Provider or posted. Without in any way limiting Provider’s
obligations or RMS’ rights hereunder, if Provider is required by any of the Stanford Policies to
make any disclosure or take any action that conflicts with the terms of this Agreement or with
the Services, prior to making such disclosure or taking such action, Provider shall, to the extent
permitted by the Stanford Policies, promptly notify RMS in writing, of such obligation,
specifying the nature of such disclosure or action and identifying the applicable Stanford Policy
under which such disclosure or action is required and shall reasonably cooperate with RMS in
preventing such disclosure or conflict.

5.2     Provider shall not use any equipment, supplies, facilities or other resources of Stanford or
any other third person in the performance of the Services, including, except as directed by RMS in
advance in writing, any individual who is a Stanford faculty member, staff member,
undergraduate or graduate student, post doctoral researcher, or other employee, agent or
independent contractor of Stanford or any other third person. Provider shall segregate all work
related to the performance of the Services from any work performed by Provider as a Stanford
employee or otherwise on behalf of Stanford and any work performed by Provider with any
government funding in order to, in each case, minimize any conflicts, claims or disputes relating
to disclosure or ownership of rights concerning any Confidential Information, RMS Work

                                                   2
     Case 5:24-cv-03972-EKL           Document 159-1        Filed 05/08/25      Page 4 of 13




Product, RMS Inventions, Prior RMS Inventions or IP Rights in any of the foregoing (all as
defined in Section 7 below).

6.     Compensation.

6.1     In consideration of the performance of the Services to RMS’ satisfaction and of the
assignments set forth below in Section 7, RMS agrees to pay to Provider the sums set forth in each
SOW to this Agreement, including, without limitation, as set forth on Exhibit A attached hereto
(“Compensation”). Compensation will be paid net 60 days from the receipt of Provider’s invoice for
such payment (disputed amounts may be withheld until mutually resolved). For the purpose of
RMS controlling payments to Provider, a Purchase Order (“PO”) will be issued to Provider
(typically, one separate PO will be issued for each SOW, with Exhibit A being considered one
SOW). Provider may not invoice RMS until a PO is issued, and Provider shall include the correct
PO number on each invoice submitted or the invoice will be rejected. POs issued are for payment
purposes only and their preprinted terms and conditions will not apply; however, any mutually
agreed specific or special terms and conditions added to a PO shall apply, as described in Exhibit A
or other applicable SOWs.

6.2     RMS has no obligation to pay for Services that RMS determines, in its reasonable judgment,
are not properly performed. If RMS pays for any Services and subsequently determines that they
were not properly performed, then RMS will be entitled, in its reasonable judgment, to re-
performance of the Services by Provider.

6.3     All payments made by RMS under this Agreement will be reduced by any tax or other
amounts required to be withheld by RMS under applicable law. During the term of this Agreement,
payments for the Services shall represent fees for services as an independent contractor, and shall
therefore be paid without any deductions or withholdings taken therefrom for taxes or for any other
purpose except as required by law. Provider agrees to provide any tax and other forms that are
reasonably required by RMS. The intent of the parties is that payments and benefits under this
Agreement comply with Internal Revenue Code Section 409A and, accordingly, to the maximum
extent permitted, this Agreement shall be interpreted to be in compliance therewith.

       7.      Assignment and Inventions.

7.1     Provider hereby assigns to RMS, its successors and assigns, all right, title, and interest in
and to (a) any Inventions generated or arising in the course of or as a result of Services performed
under this Agreement, regardless of when or where developed or whether or not any of RMS’
equipment, supplies, facilities or other resources are used, and all printed, physical and electronic
copies and other tangible embodiments thereof (collectively, “RMS Inventions”); (b) any Inventions
conceived or developed in whole or in part by Provider during the Restricted Period (as defined in
the Noncompetition Agreement entered into by and between RMS and Provider in connection with
the transactions contemplated by the Merger Agreement (the “Noncompetition Agreement”))
arising or resulting from Provider engaging in Competition (as defined in the Noncompetition
Agreement) (without in any way limiting RMS’ other rights and remedies under the
Noncompetition Agreement); and (c) all IP Rights in all of the foregoing, to the full extent of the
term for which such IP Rights may exist. Provider will promptly disclose any RMS Inventions to
RMS in writing and subject to Section 9 (Confidentiality) of this Agreement.

                                                 3
      Case 5:24-cv-03972-EKL          Document 159-1         Filed 05/08/25      Page 5 of 13




7.2     For the purposes of this Agreement, (a) “Inventions” means any inventions, works of
authorship, trade secrets, know-how, and other items made, conceived, reduced to practice, authored
or otherwise developed, discovered, or generated by Provider, solely or jointly with others; and (b)
“IP Rights” means patent applications, patents, copyright applications, copyrights, trade secret
rights, trademark rights and other intellectual property rights that exist by reason of, or may be
claimed or obtained on any Invention.

7.3      At RMS’ request, Provider will promptly execute all instruments and documents and
perform all acts deemed by RMS to be necessary or reasonably useful: (a) to perfect RMS’ right,
title, and interest in and to RMS Inventions and IP Rights therein in any country or (b) to prepare,
apply for, prosecute, obtain, maintain, defend, and enforce such IP Rights as RMS may desire in
any country. Provider hereby appoints RMS as his attorney-in-fact solely for purpose of taking any
action where Provider has failed to comply with any of the foregoing. RMS will pay all costs and
expenses of preparation, application, prosecution, maintenance, defense, and enforcement of such IP
Rights.

7.4     A copy of the current version of Section 2870 of the California Labor Code
(“Section 2870”) is attached hereto as Exhibit B. Provider agrees that because he is not an
employee of RMS, but is instead an independent contractor, Section 2870 will not apply to any
invention unless applicable law requires that it apply to that invention and that invention fully
qualifies for protection under Section 2870. Provider further agrees that, with respect to any
such invention, he bears the burden of proving such application and qualification. If applicable
law requires that Section 2870 apply to a particular invention that qualifies fully for protection
under Section 2870, such that such RMS may not legally require Provider to assign to Roche the
Provider’s rights to such invention, then despite anything in this Agreement, Provider will not be
required to assign that invention to RMS. If applicable law does not require that Section 2870
apply to a particular invention, or if that invention does not fully qualify for protection under
Section 2870, such that RMS can legally require Provider to assign its rights to such invention to
RMS, then this Agreement will be applied to that invention as if Section 2870 did not exist.

8.     Representations and Warranties. Provider covenants, represents and warrants that:

8.1     Provider does not own or control any intellectual property conceived or developed prior to
the Effective Date of this Agreement that is relevant to the Services or to the Inventions. Without
limiting the foregoing, to the extent the foregoing representation and warranty is incorrect, Provider
hereby assigns to RMS, its successors and assigns, all of Provider’s right, title, and interest in and
to any such intellectual property that is owned or controlled by Provider;

8.2    Provider will provide the Services in accordance with all applicable laws and regulations;

8.3     All corruption, extortion, and embezzlement are prohibited. Provider shall not offer, pay, or
accept bribes or participate in other illegal inducements. Provider shall conduct its business
consistent with fair competition and in compliance with all applicable antitrust laws. Provider shall
employ fair business and employment practices including, but not limited to, equal employment
opportunity. In addition, Provider must abide by the integrity standards in the Roche Supplier Code

                                                  4
       Case 5:24-cv-03972-EKL          Document 159-1        Filed 05/08/25      Page 6 of 13




of Conduct set forth at (http://www.roche.com/roche_supplier_code_of_conduct.pdf). RMS will
provide Provider prior written notice of any change to the Roche Supplier Code of Conduct;

8.4     Provider, at his sole expense, will acquire and maintain in good standing, all permits,
licenses and other entitlements required by law for the performance of Services;

8.5      [Intentionally omitted];

8.6     Provider will comply at all times with Section 4.2, and the Services and RMS Inventions
will not misappropriate third party proprietary materials, confidential or proprietary information or
trade secrets;

8.7    Provider has no other agreement or relationship with, or commitment to, any other entity or
person, including Stanford or any current or prior employer, that conflicts with his obligations to
RMS under this Agreement or his ability to become a consultant of RMS, and perform the Services.
This Agreement is valid and enforceable. Provider represents that this Agreement and Provider’s
performance of the Services do not and will not violate the Stanford Policies;

8.8   Provider has all right, power and authority necessary to enter into and perform this
Agreement; and

8.9    Provider has never been and is currently not debarred, excluded, or otherwise disqualified
by the United States Food and Drug Administration or other regulatory or certification authority.

9.       Nondisclosure of Confidential Information.

9.1     “Confidential Information” means technical, financial, or business information, whether in
writing, orally or in any other form, and whether or not labeled “Confidential”, that is (a) disclosed
by or on behalf of RMS or any of its Affiliates to Provider, (b) known to Provider as a consequence
of or through performance of this Agreement or (c) developed or created by Provider in the course
of performing Services hereunder, and which (i) is not publicly known or (ii) otherwise relates to
the Inventions that are subject to the assignment obligations in Section 7.1. Confidential
Information includes, without limitation, information, falling under clauses (a) through (c) above,
about or relating to assays, biomarkers or algorithms for detecting, quantifying, measuring or
analyzing cell-free nucleic acid derived from tumors developed or created in whole or in part by
Provider in rendering Services hereunder and any other information relating to RMS and/or its
Affiliates’ business, processes, knowledge, systems, designs, methods, formulas, patents,
inventions, materials, research plans or activities, prices, sales, costs, promotional methods, and
customers.

9.2      The following is not Confidential Information:
      a) Information generally available to the public at the time of disclosure, or which after
         disclosure by RMS to Provider becomes generally available to the public through no fault
         or omission attributable to Provider;
      b) Information made available to Provider from any third party having a right to do so without
         any obligation of confidentiality back to RMS or any of its Affiliates; or

                                                  5
     Case 5:24-cv-03972-EKL            Document 159-1         Filed 05/08/25       Page 7 of 13




   c) Information unrelated to the Services performed by Provider which is developed
      independently by Provider, as demonstrated by written records, without access to or use of
      RMS’ or any of its Affiliates’ Confidential Information.

9.3    Provider shall (a) protect the confidentiality of the Confidential Information, (b) not disclose
Confidential Information other than as provided in this Agreement and (c) use and disclose the
Confidential Information only for the purposes of and as necessary for providing the Services.

10.      Term and Termination. The term of this Agreement begins on the Effective Date and
continues for two years (“Term”), unless earlier terminated. This Agreement or any SOW may
be terminated (i) by mutual written consent of the parties, or (ii) by either party, for its
convenience, by giving five business days prior written notice to the other party; provided,
however, that if this Agreement is terminated for convenience by Provider, Provider shall forfeit
100% of the Holdback Cash (as defined in the Merger Agreement) immediately upon such
termination. Upon termination of this Agreement, RMS shall have no further liability to
Provider, other than to pay amounts due for Services prior to termination or with respect to any
liability arising from RMS’ breach of this Agreement prior to the date of such termination.

11.     Indemnification. Provider shall defend, indemnify, and hold harmless RMS, its Affiliates,
and its and their respective officers, directors, employees, and agents and each of them from and
against any and all losses, claims, demands, suits, actions, liabilities, judgments, damages, costs, and
expenses (including reasonable attorney fees) (collectively “Losses”) resulting or arising from
(a) any claim made against RMS for actual or alleged injury to, or death of, any person, or damage
to any property caused by Provider or Provider’s employees or contractors; (b) any breach of this
Agreement by Provider; or (c) any conflict between this Agreement and any of the following: any
agreement between Provider and Stanford or any obligations that Provider has to Stanford,
including, without limitation, the Stanford Policies.

12.  Waiver of Damages. EXCEPT FOR (A) EITHER PARTY’S BREACH OF HIS OR
ITS CONFIDENTIALITY OBLIGATIONS UNDER SECTION 9, (B) CLAIMS ARISING
UNDER SECTION 11, OR (C) PROVIDER’S BREACH OF SECTION 4.2 OR 5.2,
NEITHER PARTY WILL BE DIRECTLY LIABLE TO THE OTHER PARTY FOR
INCIDENTAL OR CONSEQUENTIAL DAMAGES OR THE LOSS OF ANTICIPATED
PROFITS ARISING FROM ANY BREACH OF THIS AGREEMENT BY SUCH PARTY,
EVEN IF SUCH PARTY IS NOTIFIED OF THE POSSIBILITY OF SUCH DAMAGES
AND REGARDLESS OF WHETHER ANY REMEDY SET FORTH IN THIS
AGREEMENT FAILS OF ITS ESSENTIAL PURPOSE.

FURTHER, PROVIDER SHALL NOT BE LIABLE HEREUNDER FOR ANY AMOUNT,
IN THE AGGREGATE, IN EXCESS OF PROVIDER’S HOLDBACK CASH (AS
DEFINED IN THE MERGER AGREEMENT) EXCEPT WITH RESPECT TO: (I)
CLAIMS ARISING OUT OF PROVIDER’S FRAUD OR WILLFUL OR INTENTIONAL
MISCONDUCT, WITH RESPECT TO WHICH, NOTWITHSTANDING ANYTHING TO
THE CONTRARY CONTAINED IN THIS SECTION 12, NO LIMITATIONS OR
WAIVER OF DAMAGES OR LOSSES SHALL APPLY; AND (II) ANY CLAIMS
ARISING FROM A BREACH OF ANY INDEMNIFIABLE OBLIGATION (AS

                                                   6
     Case 5:24-cv-03972-EKL            Document 159-1          Filed 05/08/25       Page 8 of 13




DEFINED IN THE MERGER AGREEMENT) OF PROVIDER SET FORTH HEREIN,
WITH RESPECT TO WHICH, NOTWITHSTANDING ANYTHING TO THE
CONTRARY CONTAINED IN THIS SECTION 12, RMS AND AFFILIATES SHALL
HAVE THE RIGHT TO RECOVER DAMAGES AND LOSSES IN EXCESS OF
PROVIDER’S HOLDBACK CASH TO THE EXTENT AND AS SET FORTH IN THE
MERGER AGREEMENT.

13.     Notice. A party must give any notice under this Agreement by facsimile, overnight courier,
regular mail, certified mail, or by personal delivery at the address set forth above. All notices to
RMS are to be sent to the attention of “General Counsel”. Notices will be deemed received: (a) if
sent by facsimile, at the start of the recipient’s next business day; or (b) if delivered by overnight
courier or certified mail, when notice is signed for by or on behalf of the receiving party; or (c) if
delivered by regular mail, three business days after the postmark date; or (d) if delivered personally,
when delivered.

14.     Right of Disclosure. RMS is entitled to disclose, without limitation, both internally and
externally, the type of relationship and any compensation and reimbursement. Such disclosure may
include disclosure under state and federal laws such as the Physician Payment Sunshine Act.
Provider may disclose only the terms or existence of this Agreement as required by law, or after
prior written notice to, and the consent of, RMS.

15.      Publicity. Provider will not issue any press release regarding RMS or this Agreement
without RMS’ prior written consent. Neither party will use or publish the name of the other party or
his or its officers, directors, employees, agents or consultants (as applicable), its logos or trademarks
or trade names in promotion, publicity, advertising or for any other purpose without the other
party’s prior written consent.

16.     Survival. Sections 3, 4.2, 7, 8 (solely with respect to Provider’s acts and omissions taken
prior to the expiration or termination of this Agreement), 9 and 11 through 24 shall survive
expiration or earlier termination of this Agreement.

17.     No Waiver. No term or condition of this Agreement shall be deemed waived unless such
waiver is in writing and signed by the party against whom the waiver is to be enforced. A waiver by
either party of any term or condition of this Agreement in any one instance will not be deemed or
construed to be a waiver of such term or condition in any subsequent instance.

18.     Severability. The invalidity or unenforceability of any provision of this Agreement will
not affect the validity or enforceability of any other provision of this Agreement.

19.      Assignability. Provider may not assign or transfer (directly or indirectly) this Agreement or
any Services hereunder without the prior written consent of RMS. Any attempted or purported
assignment of this Agreement or any Services by Provider without the prior written consent of RMS
is null and void. RMS and its Affiliates may freely share with each other the information that
Provider provides to them under this Agreement. RMS may assign this Agreement, in whole or in
part, to any Affiliate without the consent of Provider.



                                                   7
      Case 5:24-cv-03972-EKL          Document 159-1         Filed 05/08/25      Page 9 of 13




20.     Force Majeure. Neither party shall be liable for failure or delay in performance under this
Agreement due to causes beyond the reasonable control of the party affected (“Force Majeure
Event”) such as acts of nature, acts of civil unrest and violence, acts of government, labor disputes,
or any other such causes. The affected party shall provide prompt notice if a Force Majeure Event
causes it to be unable to perform any obligation. Performance shall be promptly resumed after the
Force Majeure Event has been remedied; otherwise, this Agreement may be terminated as provided
in Section 10.

21.      Entire Agreement. This Agreement and the other agreements referenced herein (including
the Noncompetition Agreement and the Merger Agreement), and all Exhibits and SOWs referenced
in any of the foregoing, constitute the parties’ entire understanding as of the Effective Date with
respect to the subject matter hereof and supersede all prior agreements, negotiations,
understandings, representations, statements, and writings between the parties relating to such subject
matter. No amendments or modifications to this Agreement are binding except in writing signed by
authorized representatives of all parties. In the event of a conflict between this Agreement, on the
one hand, and the Noncompetition Agreement or Merger Agreement, on the other hand, the terms
and conditions of this Agreement shall take precedence to the extent of such conflict. Except for
Section (b) (Ownership) and Section (c) Proprietary Information and any other confidentiality
obligations and intellectual property-related obligations set forth in the letter agreement regarding
Consulting Services dated April 28, 2014 entered into between Provider and Capp Medical, Inc.
(the “Former Consulting Agreement”), which provisions and obligations shall survive and remain in
full force and effect (solely as to Inventions (as defined in the Former Consulting Agreement) and
Proprietary Information (as defined in the Former Consulting Agreement) that arose, were obtained
or disclosed under or in connection with such Former Consulting Agreement and the Services (as
defined in the Former Consulting Agreement) and rendered thereunder), the Former Consulting
Agreement is hereby terminated..

22.    Governing Law; Venue; Waiver of Jury Trial.

22.1 This Agreement shall be construed in accordance with, and governed in all respects by, the
internal laws of the State of Delaware (without giving effect to principles of conflicts of laws).

22.2 Any action, suit or other legal proceeding relating to this Agreement or the enforcement of
any provision of this Agreement (including any action, suit or other legal proceeding based upon
fraud) shall be brought or otherwise commenced exclusively in any state or federal court located in
the County of New Castle, State of Delaware. Each party to this Agreement: (i) expressly and
irrevocably consents and submits to the exclusive jurisdiction of each state and federal court located
in the County of New Castle, State of Delaware (and each appellate court located in the County of
New Castle, State of Delaware) in connection with any such action, suit or other legal proceeding;
(ii) agrees that each state and federal court located in the County of New Castle, State of Delaware
shall be deemed to be a convenient forum; and (iii) agrees not to assert (by way of motion, as a
defense or otherwise), in any such action, suit or other legal proceeding commenced in any state or
federal court located in the County of New Castle, State of Delaware, any claim that such party is
not subject personally to the jurisdiction of such court, that such action, suit or other legal
proceeding has been brought in an inconvenient forum, that the venue of such action, suit or other



                                                  8
    Case 5:24-cv-03972-EKL          Document 159-1        Filed 05/08/25      Page 10 of 13




legal proceeding is improper or that this Agreement or the subject matter of this Agreement may not
be enforced in or by such court.

22.3 TO THE MAXIMUM EXTENT PERMITTED BY LAW, PROVIDER HEREBY
IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY ACTION,
SUIT OR OTHER LEGAL PROCEEDING ARISING OUT OF OR RELATING TO THIS
AGREEMENT OR THE ENFORCEMENT OF ANY PROVISION OF THIS AGREEMENT.

23.     Merger Agreement. Provider acknowledges and agrees that this Agreement is being entered
into in connection with, and as a condition to the consummation of, the transactions contemplated
by that certain Agreement and Plan of Merger, dated as of the date of this Consulting Services
Agreement, by and among RMS, Caduceus Acquisition Corp., a Delaware corporation, CAPP
Medical, Inc., a Delaware corporation (the “Company”), and Shareholder Representative Services,
LLC, as the Securityholders’ Agent (the “Merger Agreement”), and to enable RMS to secure more
fully the benefits of such transactions, RMS has required that Provider enter into this Agreement;
and Provider is entering into this Agreement in order to induce RMS to consummate the
transactions contemplated by the Merger Agreement, as RMS believes the execution of this
Agreement is necessary to protect the goodwill of the Company and its business.

24.    Counterparts. This Agreement and any Exhibits and SOWs may be executed in one or more
counterparts, each of which when executed and delivered by facsimile, electronic transmission or by
mail delivery, will be an original and all of which shall constitute the same Agreement.



                                (signatures on the following page)




                                                9
      Case 5:24-cv-03972-EKL        Document 159-1           Filed 05/08/25    Page 11 of 13




The parties have executed this Agreement, by their duly authorized representatives, to be effective
as of the Effective Date.

ROCHE MOLECULAR SYSTEMS, INC.                          PROVIDER:




By:                                                    By:
               (signature)                                             (signature)

Name:                                                  Name:
               (printed name)                                          (printed name)

Title:                                                 Title:


Date:                                                  Date:




                                                10
     Case 5:24-cv-03972-EKL          Document 159-1         Filed 05/08/25      Page 12 of 13


                                                                               CONFIDENTIAL
                                                                               Execution Version

                                         EXHIBIT A

                               SERVICES AND PAYMENTS


1.   DESCRIPTION OF SERVICES TO BE RENDERED BY PROVIDER:

     (a)    Provider will provide such services as may be requested by RMS from time to
     time related to RMS’s research, development or commercialization of assays or bio-
     markers to detect, quantify, measure or analyze cell-free circulating nucleic acid derived
     from tumors.

     (b)    Provider will not be required to perform Services more frequently than one
     business day in each business week; such day will be mutually agreed by RMS and
     Provider and may change from time to time depending on Provider’s obligations to
     Stanford and vacation schedule and RMS’s needs.

     (c)     Notwithstanding anything to the contrary herein, Provider may refuse to perform
     Services requested by RMS hereunder if such Services would conflict with updates to the
     Stanford Policies made after the Effective Date; provided, however, that (i) Provider shall
     use commercially reasonable efforts to consult with Stanford with respect to such update
     and to obtain a waiver from Stanford in connection therewith (a “Waiver”) and (ii) if,
     after 30 days from the effective date of such update, Provider has not obtained a Waiver
     in a form reasonably acceptable to RMS, then (A) any such refusal to perform Services
     will constitute “Cause” (as defined in the Merger Agreement) for purposes of the Merger
     Agreement; and (B) notwithstanding Provider’s right to refuse to perform Services as set
     forth in this clause (c), the underlying conflict giving rise to such right shall be treated as
     a conflict between this Agreement and the Stanford Policies for purposes of the rights to
     indemnification contained herein and in Section 10.2(a)(vi) of the Merger Agreement.


2.   PAYMENT TERMS:




                                               11

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    Case 5:24-cv-03972-EKL            Document 159-1         Filed 05/08/25      Page 13 of 13

                                                                                  CONFIDENTIAL
                                                                                  Execution Version



                                            EXHIBIT B

                     CALIFORNIA LABOR CODE SECTION 2870
              INVENTION ON OWN TIME-EXEMPTION FROM AGREEMENT

        “(a) Any provision in an employment agreement which provides that an employee
shall assign, or offer to assign, any of his or her rights in an invention to his or her employer shall
not apply to an invention that the employee developed entirely on his or her own time without
using the employer’s equipment, supplies, facilities, or trade secret information except for those
inventions that either:

              (1)    Relate at the time of conception or reduction to practice of the invention to
the employer’s business, or actual or demonstrably anticipated research or development of the
employer; or

               (2)     Result from any work performed by the employee for the employer.

       (b)     To the extent a provision in an employment agreement purports to require an
employee to assign an invention otherwise excluded from being required to be assigned under
subdivision (a), the provision is against the public policy of this state and is unenforceable.”




                                                  12
